        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 1 of 40 Page ID #:1




   Robert H. Tyler, Esq., CA Bar No. 179572
 1 rtyler@tylerbursch.com
 2 Nada N. Higuera, Esq., CA Bar No. 299819
   nhiguera@tylerbursch.com
 3 Mariah R. Gondeiro, CA Bar No. 323683
   mgondeiro@tylerbursch.com
 4 TYLER & BURSCH, LLP
 5 25026 Las Brisas Road
   Murrieta, California 92562
 6 Telephone: (951) 600-2733
   Facsimile: (951) 600-4996
 7
 8 Nicole C. Pearson, Esq., CA Bar No. 265350
   npearson@ncpesq.com
 9 LAW OFFICES OF NICOLE C. PEARSON
10 3345 Newport Boulevard, Suite 200
   Newport Beach, California 92663
11 Telephone: (424) 272-5526
12 Attorneys for Plaintiffs RYAN
   KHANTHAPHIXAY, RILEY O’NEAL
13
14
                       UNITED STATES DISTRICT COURT
15
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
   RYAN KHANTHAPHIXAY and                    Case No.:
17 RILEY O’NEAL,
                                             COMPLAINT FOR
18                                           DECLARATORY AND
                 Plaintiffs,
19 vs.                                       INJUNCTIVE RELIEF AND
                                             DAMAGES
20 LOYOLA MARYMOUNT
   UNIVERSITY; MUNTU DAVIS, in
21 his official capacity as Public Health    DEMAND FOR JURY TRIAL
22 Officer for Los Angeles County; and
   BARBARA FERRER, in her official
23 capacity as Director of the Los Angeles
   County Department of Public Health,
24
                        Defendants.
25
26
27
28
                                           1
                                       COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 2 of 40 Page ID #:2




 1                                  INTRODUCTION
 2         1.    Ryan and Riley, the plaintiffs herein, are undergraduate students at
 3 Loyola Marymount University. Their hard work and academic successes led to their
 4 acceptance into the University. That same hard work continued in college, and they
 5 are now matriculating into their sophomore and junior years, respectively.
 6         2.    After registering for their Fall 2021 classes, selecting, and securing on-
 7 campus housing assignments to live with friends upon their eagerly anticipated
 8 return to campus, the University sent a message to Ryan, Riley, and their families
 9 imposing a new requirement: all students were required to be vaccinated against
10 COVID-19, or otherwise submit to testing, masking, distancing, and being subject
11 to “other” measures in order to return to campus in the Fall. The University further
12 announced that these newly imposed conditions of attendance were adopted at the
13 behest of, and in coordination with, the Los Angeles County Department of Public
14 Health.
15         3.    Though the University does allow for certain accommodations for
16 students seeking exemption to the COVID-19 vaccine mandate, the exemptions
17 recognized by the University are limited in scope and conditioned on similarly
18 objectionable conditions. These accommodations have the effect of creating a
19 campus-wide apartheid, with “vaccine-exempted” students required to live in
20 separate dorms, wear face coverings, social distance, submit to surveillance testing,
21 and have their bodily and medical privacy invaded, while their vaccinated peers are
22 free to move about campus without any special conditions or requirements. Simply
23 put, students whose religious convictions and/or medical conditions dictate against
24 them submitting to the vaccine mandate must live as outcasts amongst their peers
25 for at least this academic year, and perhaps the balance of their college careers.
26         4.    There are no similar conditions tied to any other exemption granted by
27 the University for any other vaccine that it mandates for attendance.
28
                                              2
                                          COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 3 of 40 Page ID #:3




 1        5.     Ryan and Riley bring suit to redress these constitutional and statutory
 2 harms, and seek declaratory and injunctive relief and damages.
 3                              PARTIES – PLAINTIFFS
 4        6.     Plaintiff RYAN KHANTHAPHIXAY (“Ryan”) is a 19-year-old rising
 5 sophomore at Loyola Marymount University. When not in school, Ryan resides with
 6 his family in Los Angeles County, State of California.
 7        7.     Plaintiff RILEY O’NEAL (“Riley”) is a 20-year-old rising junior at
 8 Loyola Marymount University. When not in school, Riley resides with his family in
 9 Orange County, California.
10        8.     Numerous other LMU students object to LMU’s newly announced
11 mandates for reasons similar to Ryan and Riley and/or, in some cases, because the
12 student has recovered from COVID-19 and possesses natural immunity. These
13 students have declined to join this lawsuit for fear of potential academic, personal,
14 and professional retribution by the University and/or their peers.
15                             PARTIES – DEFENDANTS
16        9.     Defendant LOYOLA MARYMOUNT UNIVERSITY (hereinafter “the
17 University” or “LMU”) is an institution of higher learning accredited by the WASC
18 Senior College and University Commission. On its website, the University
19 represents that it “offers rigorous undergraduate, graduate, and professional
20 programs to academically ambitious students committed to lives of meaning and
21 purpose.” The University is located in the County of Los Angeles, State of
22 California.
23        10.    Defendant MUNTU DAVIS is the Public Health Officer for Los
24 Angeles County and is hereinafter referred to as “the Public Health Officer” or
25 collectively with Defendant Ferrer as “the Los Angeles County Department of
26 Public Health” or “LACDPH”. The Public Health Officer issues Public Health
27 Orders and asserts jurisdiction over all of Los Angeles County, including the
28 University. The Public Health Officer is sued in his official capacity, only.
                                             3
                                         COMPLAINT
         Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 4 of 40 Page ID #:4




 1         11.    Defendant BARBARA FERRER is the Los Angeles County Director
 2 of Public Health and is hereinafter referred to as “the Director of Public Health” or
 3 collectively with the Public Health Officer as “the Los Angeles County Department
 4 of Public Health” or “LACDPH”. As such, she (together with the Public Health
 5 Officer) is charged with establishing and enforcing public health policy for the entire
 6 County of Los Angeles. The Director of Public Health is sued herein in her official
 7 capacity, only.
 8                             JURISDICTION AND VENUE
 9         12.    This civil rights action raises federal questions under the United States
10 Constitution, specifically the First, Fourth and Fourteenth Amendments, and under
11 federal law, particularly 42 U.S.C. §1983.
12         13.    This Court has subject matter jurisdiction over the federal claims
13 pursuant to 28 U.S.C. §§ 1331 and 1343.
14         14.    This Court has authority to grant the requested declaratory relief under
15 the Declaratory Judgment Act, 28 U.S.C. §§2201 and 2202, implemented through
16 Rule 57 of the Federal Rules of Civil Procedure. This Court is also authorized to
17 grant injunctive relief and damages under 28 U.S.C. §1343, pursuant to Rule 65 of
18 the Federal Rules of Civil Procedure, and reasonable attorneys’ fees and costs under
19 42 U.S.C. §1988.
20         15.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) and (2)
21 because all Defendants are situated in this judicial district or reside in the State of
22 California in which this judicial district is located, and a substantial part of the events
23 or omissions giving rise to Plaintiffs’ claims occurred in this district.
24                                   RELEVANT FACTS
25         16.    The University requires students who intend to return and live on
26 campus to complete and submit a housing application and license agreement no later
27 than March 30th preceding the academic year. Ryan and Riley both timely submitted
28 their housing paperwork, and both requested to live in an on-campus apartment with
                                                4
                                            COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 5 of 40 Page ID #:5




 1 a designated group of friends. To secure their respective housing assignments, Riley
 2 paid his housing deposit on April 5, 2021, and Ryan on May 11, 2021.
 3        17.    Both Ryan and Riley registered for their Fall 2021 classes during the
 4 registration period beginning April 1, 2021. To the best of their recollection,
 5 Plaintiffs completed registration within the first few days of the registration period.
 6        18.    Following the expiration of these deadlines, and after Plaintiffs and
 7 LMU had mutually assented to contractually binding terms of Plaintiffs’ return to
 8 school in Fall 2021, the LMU Office of the President sent a communication to
 9 parents and students advising that it would be implementing a policy requiring all
10 students to be vaccinated against COVID-19 prior to returning to campus for the Fall
11 2021 semester.
12        19.    The University further advised:
13               We will allow exceptions on a case-by-case basis for
                 students with qualifying medical or religious reasons.
14               Where exceptions are granted, the university may require
                 additional COVID-19 testing, social and access
15               restrictions, quarantining, and other requirements or
                 limitations.
16
17        20.    The University justified its mandate by reminding parents, “Please note
18 that vaccine requirements are not new: the university also mandates vaccinations for
19 measles, mumps, and rubella.” This is a false equivalency because the MMR vaccine
20 is FDA approved, has been administered for fifty (50) years so the side effects are
21 well-known, and exemptions to the MMR vaccine mandate do not carry with it the
22 unconscionable conditions imposed upon students granted exemption from the
23 COVID-19 vaccine mandate. The University further noted, “Also, we will soon
24 provide further guidance concerning vaccinations for faculty and staff.”
25        21.    On June 11, 2021, the University announced its formal COVID-19
26 vaccination and return to campus policy, including the opportunity for exemptions.
27 The policy, entitled “Required COVID-19 Vaccination and Exemption Policy For
28 Students” reads, in relevant part, as follows:
                                              5
                                          COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 6 of 40 Page ID #:6



                 All students are required to demonstrate that they are fully
 1               vaccinated prior to the commencement of fall classes. A
                 fully vaccinated individual under this policy has received
 2               all required doses of an FDA (or non-U.S. equivalent
                 public health authority) approved SARS-COV-2
 3               (COVID-19) vaccination.
 4               Pfizer-BioNTech (0.3 ml each): two doses at least 3 weeks
                 (21 days) apart, but no more than 6 weeks (42 days)
 5
                 Moderna (0.5 ml each): two doses at least 4 weeks (24-28
 6               days) apart, but no more than 6 weeks (42 days)
 7               Janssen, Johnson & Johnson (0.5 ml): one dose;
 8                                            ***
 9               For resident students, failure to register vaccination
                 information by August 6, 2021, and be fully vaccinated by
10               August 20, 2021, will result in the cancelation of their
                 housing license agreement.
11
                                              ***
12
                 Students who wish to request a vaccination exemption for
13               medical or religious reasons must complete the
                 appropriate exemption form available through the Vax
14               LMU system no later than June 30, 2021, for residential
                 students or July 15, 2021, for non-residential students;
15
                                              ***
16
                 Third-party testing managed by LMU COVID Testing will
17               be required for those with an approved exemption. Testing
                 schedules will follow LACDPH guidelines. Issues of non-
18               compliance with testing protocols are referred to LMU
                 Student Conduct for evaluation and potential adjudication.
19
20         22.   The University did not identify the COVID-19 vaccination
21 requirements for its faculty or staff.
22         23.   Upon information and belief, the University has not issued any formal
23 or final vaccination policy for its faculty and staff and University faculty and staff
24 are currently not required to receive a COVID-19 vaccine in order to return to
25 campus.
26         24.   When applying for an exemption through the “Vax LMU system,” as
27 required by the University, students must check boxes indicating their assent to
28
                                                6
                                            COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 7 of 40 Page ID #:7




 1 certain affirmative statements. The portal will not allow submission of the exemption
 2 application without students agreeing to the following:
 3               I acknowledge and agree by being unvaccinated I am at
                 increased risk of acquiring COVID-19 and transmitting it
 4               to my fellow students, faculty and staff.
 5
                 I acknowledge and agree I will be required and hereby
 6               agree to submit to regular COVID-19 testing by the
                 University.
 7
 8               I acknowledge and agree I will be asked and hereby agree
                 to self-isolate if I test positive for COVID-19 and/or
 9               quarantine if I am exposed to a positive case of COVID-
                 19.
10
11               I acknowledge and hereby agree to leave campus if, in the
                 determination of responsible University official(s) there is
12               an outbreak of COVID-19 on campus or in the reasonably
                 adjacent campus community and agree that I will not be
13               allowed to return to campus until authorized by the LMU
                 COVID Support Team.
14
15               I agree to follow, abide by and comply with all health and
                 safety     related   conditions     and    accommodation
16               requirements identified from time to time by the
                 University as a condition to granting or continuance of my
17               request for an exemption to the LMU COVID-19
                 vaccination requirement.
18
19               I agree to and hereby assume all liability arising from my
                 decision not to be vaccinated against COVID-19.
20
21        25.    Students who are granted exemptions are also required by the
22 University to be enrolled in the “LMU surveillance testing program”.
23        26.    The University has the following posted on its website (webpage
24 entitled “On-campus COVID-19 Testing Center”):
25               The LMU COVID Testing Center provides voluntary
                 surveillance PCR testing** to those who live or work on
26               campus or have campus access. At this time, LMU is
                 unable to extend testing opportunities to family members
27               who do not also live on campus.
28
                                             7
                                         COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 8 of 40 Page ID #:8




 1        27.      The asterisked language above corresponds to the following note found
 2 at the bottom of the same page:
 3                 Surveillance testing is defined by public health officials as
                   the testing used to detect transmission hot spots or to better
 4                 understand disease trends in an environment. It can be an
                   effective method to slow the spread as testing may identify
 5                 those who are COVID-19 positive and pre-symptomatic or
                   asymptomatic.
 6
 7        28.      There is no other language found anywhere in any of the policies or
 8 notices promulgated by the University nor anywhere on the University’s website
 9 regarding any additional or alternative purpose for the testing that students exempted
10 from the vaccination requirement are required to undergo.
11        29.      Beneath the verbiage quoted in the above paragraphs, there is a series
12 of questions and answers. The first is, “Who is required to get tested?” The response
13 provided is, “All individuals with campus access who are not confirmed as fully
14 vaccinated in Vax LMU must get tested on campus twice per week, effective June
15 15. Testing is free, and consists of a self-administered swab approximately 1” into
16 the nostril.”
17        30.      This University webpage also discloses that “LMU Student Health
18 Services and LMU’s COVID Support Team will have access to results to provide
19 support for individuals who are COVID-19 positive, facilitate contact investigations,
20 and expeditiously initiate the isolation or quarantine process. Results are also
21 automatically provided to the CDC and the LA County Department of Public Health
22 as mandated.”
23        31.      This webpage also states, “Fully vaccinated individuals are exempt
24 from future testing requirements, once they have submitted proof of documentation
25 to VaxLMU and it has been accepted.”
26        32.      The University is using a “SummerBio test [that] is a molecular RT-
27 PCR type test”.
28
                                                8
                                            COMPLAINT
           Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 9 of 40 Page ID #:9




 1           33.    These surveillance testing, masking, distancing, forced quarantine, and
 2 forced assumption of liability and attestation requirements are the first of their kind
 3 tied to any exemption for any other vaccine mandated by LMU.
 4           34.    LMU requires proof of vaccination of measles, mumps, and rubella as
 5 a condition to enrollment. 1 In the event a student needs or is desirous of obtaining
 6 an exemption to one of these required vaccines, the student needs to fill out a one-
 7 page request for a medical exemption, signed by his or her healthcare provider,
 8 providing the student’s name, gender, date of birth, address, phone number, email,
 9 Student Identification Number (if any), Parent / Guardian’s Name (if under 18); the
10 contraindication and whether its temporary or permanent; the healthcare provider’s
11 contact information and license number; and the parties’ signatures. 2
12           35.    The only “advisement” that LMU gives to the student seeking an
13 exemption is as follows:
14                  Be advised, an unvaccinated student is at greater risk of
                    becoming ill with the vaccine-preventable disease. An
15                  unvaccinated student may be excluded from attending
                    school during an outbreak of, or after exposure to, any of
16                  these diseases: Measles, Mumps, Rubella.
17           There are no other policies or representations made on this exemption
18 form that an MMR-exempted student mask, distance, or test for the same.
19                                             Plaintiffs
20 Ryan Khanthaphixay
21           36.    Ryan was born in 2002. He has lived in the vicinity of Loyola
22 Marymount University his entire life and always considered attending school there
23 after high school.
24
25
       1
           Student Health Entrance Requirements,
26 https://studentaffairs.lmu.edu/wellness/studenthealthservices/studenthealthentrancerequirements/
   [as of July 23, 2021].
27    2
        Student Health Services – Exemption For Required Vaccinations,
   https://studentaffairs.lmu.edu/media/studentaffairs/shs/Exemption%20to%20Required%20Vacci
28 nation%202020-2021.pdf [as of July 23, 2021] (emphasis in original).
                                                     9
                                              COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 10 of 40 Page ID #:10




 1        37.    Ryan worked hard and attained good grades in high school. He was
 2 such a good student that the University offered him a substantial academic
 3 scholarship for the entire duration of his college career, which was the determining
 4 factor in Ryan selecting LMU Over the other prestigious universities he earned
 5 acceptance to. The acceptance and scholarship award letter sent to Ryan by the
 6 University is attached hereto as Exhibit “A”. Notably, there is no contract provision
 7 pertaining to vaccination or any other medical requirement.
 8        38.    Ryan is a devout Christian. This is the first occasion on which he has
 9 personally been faced with the decision about whether or not to be vaccinated.
10 Though Ryan was vaccinated as a child, those decisions were made by his parents,
11 and he had no opportunity to weigh in on the decision.
12        39.    Ryan was upset by the University’s vaccination policy because being
13 vaccinated in this instance would conflict with Ryan’s sincerely held religious
14 beliefs.
15        40.    Ryan was relieved to learn that the University stated it would accept
16 requests for religious exemptions.
17        41.    Ryan drafted his exemption request. In it, he articulated his sincerely
18 held religious beliefs. These beliefs include that his body is a temple of the Holy
19 Spirit and, as such, should be revered and kept pure and holy. He further articulated
20 his objection to the use of aborted fetal cells in the production and testing of
21 vaccines.
22        42.    Ryan submitted his exemption request on June 20, 2021.             The
23 University rejected Ryan’s exemption request on June 23, 2021.
24        43.    Ryan redrafted the exemption request, this time being even more
25 detailed and citing applicable Scripture, and resubmitted it on June 23, 2021.
26        44.    Much to his dismay, the University denied his exemption request,
27 again, on June 28, 2021.
28
                                            10
                                         COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 11 of 40 Page ID #:11




 1        45.    Determined not to be forced to violate his religious convictions, Ryan
 2 redrafted and resubmitted his written request for religious exemption on June 30.
 3        46.    Once again, the University denied Ryan’s exemption request on July 1.
 4        47.    Ryan then began hearing that the University was granting religious
 5 exemption requests of students belonging to different religions. As a result, Ryan
 6 formed the belief that the University was discriminating against him for his sincerely
 7 held Christian beliefs.
 8        48.    On July 10, Ryan called LMU’s offices of Human Resources and
 9 Student Affairs two and three times, respectively, to lodge a formal complaint of
10 potential religious discrimination.
11        49.    When Ryan did not hear back from either office, he called LMU’s
12 offices of Human Resources and Student Affairs, again, on July 12, to re-submit his
13 complaint of potential religious discrimination.
14        50.    With the help of the undersigned counsel, Ryan supplemented his
15 exemption request, yet again, and submitted it to the University for reconsideration
16 the same day (July 12, 2021).
17        51.    The University never responded to any of Ryan’s complaints of
18 religious discrimination.
19        Instead, on July 13, 2021, the University granted Ryan’s fourth request for a
20 religious exemption. Upon information and belief, a less persistent student would
21 not have been granted an exemption.
22        52.    While Ryan is relieved that his request was granted, he remains anxious
23 and fearful of what the upcoming year will hold, since the exemption brings with it
24 additional burdens to which Ryan also objects.
25        53.    Ryan objects to having his nasal cavity invaded for testing purposes,
26 and to the information derived from his biological material being stored in a database
27 indefinitely and disseminated to governmental agencies and other entities whom the
28 University and/or government deem appropriate. Moreover, Ryan objects to being
                                            11
                                         COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 12 of 40 Page ID #:12




 1 forced to cover his face because this, too, conflicts with his religious beliefs. Ryan
 2 likewise objects to being made to socially distance from his peers.
 3         54.   Ryan is a healthy young man, has never had COVID-19, and believes
 4 that God blessed him with divine health (Psalm 91). Covering his face and taking
 5 other measures that undermine this promise of God violates Ryan’s deeply held
 6 religious beliefs and creates a crisis of conscience for him.
 7         55.   In submitting his exemption request to the University, Ryan was forced
 8 to check boxes affirming statements with which he does not agree. Most notably,
 9 Ryan had to affirm, “I acknowledge and agree by being unvaccinated I am at
10 increased risk of acquiring COVID-19 and transmitting it to my fellow students,
11 faculty and staff.”
12         56.   Ryan has a sincerely held religious belief that, among other religious
13 reasons, his body is considered to be a temple of God in a spiritual sense and that he
14 should not contaminate his body with this vaccine. He further believes that abortion
15 is against God’s intention for life and that because aborted fetal cells have been used
16 in the creation of the presently existing Covid-19 vaccines, taking the vaccine would
17 violate his religious principles.
18 Riley O’Neal
19         57.   Riley was born in 2001. He is a rising junior at Loyola Marymount
20 University.
21         58.   Like Ryan, Riley excels academically. In recognition of the asset, he
22 would be to the University, LMU awarded him an academic scholarship that
23 guarantees a substantial financial contribution by the University each year to offset
24 the cost of attendance.
25         59.   Having already spent two years studying at the University, Riley is at
26 the stage of his education where he has completed all general requirements and
27 prerequisites and is about to delve deep in his chosen area of study: film writing,
28 producing, and stunt coordinating. Changing schools at this time would severely
                                             12
                                          COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 13 of 40 Page ID #:13




 1 disrupt his education. Additionally, despite having offers to attend several other
 2 prestigious Los Angeles universities, Riley specifically chose to attend LMU
 3 because of its renowned School of Film and Television, as well as its contacts and
 4 connections with the local Hollywood industry.
 5        60.    Riley was stricken with fear and anxiety when he learned of the
 6 University’s new policy requiring all students to be vaccinated against COVID-19
 7 in order to return to campus in Fall 2021 because Riley has a medical condition that
 8 makes vaccination particularly dangerous to him, even more so than to his peers.
 9        61.    Riley applied for and was granted a medical exemption to the
10 University’s vaccine mandate. This was a relief, but it does not come close to
11 alleviating all of his concerns regarding his health and his ability to matriculate at
12 the University.
13        62.    In order to obtain the medical exemption, and as set forth in detail
14 hereinabove, Riley was required by LMU to indicate his assent to certain terms and
15 conditions to which he actually objects.
16        63.    Specifically, the University conditioned Riley’s (and Ryan’s)
17 exemption to the vaccine mandate upon express acceptance of liability for he or any
18 other person on campus contracting COVID-19.
19        64.    This condition is patently unreasonable and unfair given that Riley is
20 unable to be vaccinated due to his medical condition. Riley was unconscionably
21 made to choose between suffering serious medical complications – up to and
22 including death – if vaccinated and assuming personal legal liability for the health
23 of all his peers and the broader University community. Riley should not be made to
24 assume liability for the illness of others when he has no choice but to decline
25 vaccination, or otherwise put his own life and health in jeopardy.
26        65.    Riley’s coerced “agreement” to accept liability is also unconscionable
27 because vaccinated persons can be carriers of and transmit the virus (see discussion,
28 below). Therefore, the University would never be able to determine the source of
                                            13
                                         COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 14 of 40 Page ID #:14




 1 any future COVID-19 infection on campus, and any attribution to Riley or any other
 2 unvaccinated person would be unfounded.
 3         66.    Adding to the unconscionability and inequity of the forced acceptance
 4 of liability for the prospective illness of others is the reality that the persons for
 5 whom Riley (and other vaccine-exempted students) has been forced to assume
 6 liability may not take responsibility for their own health themselves. They may have
 7 poor diets and be overweight, have poor sleep and exercise habits, partake in drugs
 8 and alcohol, and therefore, already be more susceptible to contracting COVID-19,
 9 regardless of Ryan or Riley’s vaccination status.
10         67.    As a further condition of exemption, Riley (and all exempted students)
11 will be required to undergo invasive nasal swab (PCR) testing twice weekly. Not
12 only is the PCR test unreliable (as discussed in greater detail hereinbelow), Riley’s
13 medical condition can also be adversely impacted by it. Thus, even with the vaccine
14 exemption, Riley is still being forced to undergo a medical intervention against his
15 will that is medically unnecessary and puts his life and health in peril.
16         None of the Currently Available Vaccines against SARS-Cov2 Are
17               Approved by the Food and Drug Administration (“FDA”)
18         68.    The University’s newly implemented vaccine policy reads as follows:
19                All students are required to demonstrate that they are fully
                  vaccinated prior to the commencement of fall classes. A
20                fully vaccinated individual under this policy has received
                  all required doses of an FDA (or non-U.S. equivalent
21                public health authority) approved SARS-COV-2
                  (COVID-19) vaccination. (Emphasis added).
22
23         69.    Compliance with this policy is an impossibility since there is no FDA
24 approved COVID-19 vaccine.
25         70.    All COVID-19 vaccines currently available in the United States remain
26 unapproved products authorized for emergency use only pursuant to 21 U.S.C.
27 §360bbb-3. This is not a semantic distinction. Medical and pharmaceutical products
28 allowed to market pursuant to this provision of law have very real distinctions from
                                             14
                                          COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 15 of 40 Page ID #:15




 1 approved products, and accordingly come with explicit, distinct legal restrictions
 2 and requirements.
 3          71.   To that end, the Centers for Disease Control and Prevention (“CDC” or
 4 “CDCP”) has posted on its website fact sheets for each of the available vaccines,
 5 with the exception of the vaccine manufactured by AstraZeneca.3
 6          The applicable fact sheet is required to be given to each person to whom a
 7 COVID-19 vaccine is being administered. Notably, each of the fact sheets plainly
 8 state at the top (and again further down on the document), “There is no U.S. Food
 9 and Drug Administration (FDA) approved vaccine to prevent COVID-19.”
10 (Emphasis added). The fact sheets are collectively attached hereto as Exhibit “B”.
11          72.   These fact sheets also make clear that the vaccines, “ha[ve] not
12 undergone the same type of review as an FDA-approved or cleared product.”
13                         Reported Risks of COVID-19 Vaccines
14          73.   The following information is contained in the Pfizer-BioNTech Fact
15 Sheet:
16                WHAT ARE THE RISKS OF THE PFIZER-BIONTECH
                  COVID-19 VACCINE?
17
                  There is a remote chance that the Pfizer-BioNTech
18                COVID-19 Vaccine could cause a severe allergic reaction.
                  A severe allergic reaction would usually occur within a
19                few minutes to one hour after getting a dose of the Pfizer-
                  BioNTech COVID-19 Vaccine. For this reason, your
20                vaccination provider may ask you to stay at the place
                  where you received your vaccine for monitoring after
21                vaccination. Signs of a severe allergic reaction can
                  include:
22
                          • Difficulty breathing
23
                          • Swelling of your face and throat
24
                          • A fast heartbeat
25
26
       3
        The FDA webpage where the link to this document should be located currently states:
27 “COVID-19   AstraZeneca Vaccine EUA Fact Sheet for Recipients URL is not yet ready. The
   manufacturer URL for this document will be provided once that is available.”,
28 https://www.cdc.gov/vaccines/covid-19/eua/astrazeneca.html [as of July 21, 2021]
                                               15
                                            COMPLAINT
     Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 16 of 40 Page ID #:16



                    • A bad rash all over your body
 1
                    • Dizziness and weakness
 2
             Myocarditis (inflammation of the heart muscle) and
 3           pericarditis (inflammation of the lining outside the heart)
             have occurred in some people who have received the
 4           Pfizer-BioNTech COVID-19 Vaccine. In most of these
             people, symptoms began within a few days following
 5           receipt of the second dose of the Pfizer-BioNTech
             COVID-19 Vaccine. The chance of having this occur is
 6           very low. You should seek medical attention right away if
             you have any of the following symptoms after receiving
 7           the Pfizer-BioNTech COVID-19 Vaccine:
 8                  • Chest pain
 9                  • Shortness of breath
10                  • Feelings of having a fast-beating, fluttering, or
                    pounding heart.
11
             Side effects that have been reported with the Pfizer-
12           BioNTech COVID-19 Vaccine include:
13                 • severe allergic reactions
14                 • non-severe allergic reactions such as rash, itching,
                   hives, or swelling of the face
15
                   • myocarditis (inflammation of the heart muscle)
16
                   • pericarditis (inflammation of the lining outside the
17                 heart)
18                 • injection site pain
19                 • tiredness
20                 • headache
21                 • muscle pain
22                 • chills
23                 • joint pain
24                 • fever
25                 • injection site swelling
26                 • injection site redness
27                 • nausea
28                 • feeling unwell
                                         16
                                      COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 17 of 40 Page ID #:17



                        • swollen lymph nodes (lymphadenopathy)
 1
                        • diarrhea
 2
                        • vomiting
 3
                        • arm pain
 4
                  These may not be all the possible side effects of the Pfizer-
 5                BioNTech COVID-19 Vaccine. Serious and unexpected
                  side effects may occur. Pfizer-BioNTech COVID-19
 6                Vaccine is still being studied in clinical trials.
 7
           74.    The side effects noted in the respective fact sheets for each of the
 8
     vaccines are the same or substantially similar.
 9
           75.    The fact sheet pertaining to the COVID-19 vaccine manufactured by
10
     Janssen discloses the following additional side effects of vaccination:
11
                  Blood Clots with Low Levels of Platelets
12
                  Blood clots involving blood vessels in the brain, lungs,
13                abdomen, and legs along with low levels of platelets
                  (blood cells that help your body stop bleeding), have
14                occurred in some people who have received the Janssen
                  COVID-19 Vaccine. In people who developed these blood
15                clots and low levels of platelets, symptoms began
                  approximately one to two-weeks following vaccination.
16                Reporting of these blood clots and low levels of platelets
                  has been highest in females ages 18 through 49 years.
17
                  The chance of having this occur is remote. You should
18                seek medical attention right away if you have any of the
                  following symptoms after receiving Janssen COVID-19
19                Vaccine:
20                      • Shortness of breath,
21                      • Chest pain,
22                      • Leg swelling,
23                      • Persistent abdominal pain,
24                      • Severe or persistent headaches or blurred vision,
25                      • Easy bruising or tiny blood spots under the skin
                        beyond the site of the injection.
26
                  These may not be all the possible side effects of the
27                Janssen COVID-19 Vaccine. Serious and unexpected
                  effects may occur. The Janssen COVID-19 Vaccine is still
28                being studied in clinical trials.
                                              17
                                           COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 18 of 40 Page ID #:18



                    Guillain Barré Syndrome
 1
                    Guillain Barré syndrome (a neurological disorder in which
 2                  the body’s immune system damages nerve cells, causing
                    muscle weakness and sometimes paralysis) has occurred
 3                  in some people who have received the Janssen COVID-19
                    Vaccine. In most of these people, symptoms began within
 4                  42 days following receipt of the Janssen COVID-19
                    Vaccine. The chance of having this occur is very low. You
 5                  should seek medical attention right away if you develop
                    any of the following symptoms after receiving the Janssen
 6                  COVID-19 Vaccine:
 7                         • Weakness or tingling sensations, especially in the
                           legs or arms, that’s worsening and spreading to
 8                         other parts of the body
 9                         • Difficulty walking
10                         • Difficulty with facial movements, including
11                           speaking, chewing, or swallowing
12                         • Double vision or inability to move eyes
13                         • Difficulty with bladder control or bowel function
14
            76.     The Vaccine Adverse Events Reporting System (VAERS) is a self-
15
     reporting surveillance system designed to monitor adverse events potentially caused
16
     by vaccines. It is believed that fewer than one percent (1%) of vaccine adverse events
17
     are actually reported to VAERS.4
18
            77.     VAERS shows the following data for COVID-19 vaccine adverse
19
     events as of July 9, 20215:
20
                    •       Deaths: 10,991
21
                    •       Life Threatening: 8,832
22
                    •       Permanent Disability: 9,274
23
                    •       Hospitalized: 30,781
24
                    •       Emergency Room: 59,402
25
26      4
        Grant Final Report: Electronic Support for Public Health – Vaccine Adverse Event
   Reporting System (ESP:VAERS) (December 1, 2007, to September 30, 2010,
27 https://digital.ahrq.gov/sites/default/files/docs/publication/r18hs017045-lazarus-final-report-
   2011.pdf [as of July 21, 2021].
28    5
        https://www.openvaers.com; see also, https://vaers.hhs.gov/
                                                       18
                                                 COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 19 of 40 Page ID #:19



                   •       Office Visit: 82,535
 1
                   •       Severe Allergic Reaction: 19,814
 2
                   •       Bell’s Palsy: 2,885
 3
                   •       Heart Attacks: 3,906
 4
                   •       Myocarditis/Pericarditis: 2,466
 5
                   •       None of the above: 232,570
 6
                   •       Total: 463,456
 7
 8          78.    On average, the number of officially confirmed deaths resulting from
 9 vaccination annually is approximately 200. In the mere seven months (since
10 December 2020) that the three COVID-19 vaccines have been available for
11 emergency use, they have proven to be over fifty (50) times more deadly than all
12 FDA-approved vaccines combined.
13          79.    In addition to the foregoing risks, the efficacy of the currently available
14 vaccines has recently been called into question based upon data coming out of Israel
15 and the United Kingdom. In both countries, upwards of forty percent (40%) of those
16 individuals being hospitalized with COVID-19 have been vaccinated. 6 Therefore,
17 how protective vaccines are to the community at-large is not certain.
18                Potential Risks of COVID-19 Infection in Young Adults
19          80.    In contrast with the serious side effects suffered by many recipients of
20 the vaccine, the threat of severe side effects from the COVID-19 virus itself to
21 college-age students is virtually non-existent:
22                 For those under 30, the risks of serious morbidity and
                   mortality are close to zero. By contrast, early indications
23                 from passive surveillance systems (which call for follow-
                   up investigation) and a June 10 review by the FDA’s
24                 Vaccines and Related Biological Products Advisory
                   Committee indicated an excess risk for heart
25
26
       6
       See, e.g., Israel Minister of Health Dashboard, https://dashboard.health.gov. il/COVID-
27 19/general [as of July 20, 2021]; 60% of all COVID hospitalizations are unvaccinated, says
   Patrick Vallance   (July 19, 2021, https://news.yahoo.com/how-many-covid-hospitalisation-
28 double-vaccinated-171607939.html      [as of July 23, 2021];
                                                 19
                                              COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 20 of 40 Page ID #:20



                   inflammation, especially in 7men 30 and younger [who
 1                 have received the vaccines].”
 2
           81.     According to the CDC, only 0.5% of all cases of COVID-19 in the
 3
     United States occurred in 18- to 29-year-olds.8
 4
                  Real Time Polymearse Chain Reaction (“Rt-Pcr”) Test
 5
           82.     The RT-PCR test has emerged as the most common type of test used to
 6
     determine infection with the SARS-CoV-2 virus.
 7
           83.     RT-PCR technology is complex and difficult for a lay person to
 8
     understand. One scientific article describes it as follows:
 9
                   Another significant step in PCR evolution was the
10                 development of real-time PCR growth curve analysis,
                   based on monitoring the exponential accumulation of PCR
11                 product…[T]hermal cycling instruments with optics
                   capable of measuring fluorescence at every cycle made
12                 real-time9 PCR the preferred method of quantitative
                   analysis.
13
14         84.     Dr. Sin Hang Lee, a pathologist who has been practicing for more than
15 forty (40) years as an attending Pathologist at Yale-affiliated teaching hospitals from
16 1973 to 2003, former Director of the Molecular Diagnostic Section at Milford
17 Hospital Laboratory from 2004 to 2015, and current Director of the Milford
18 Molecular Diagnostics Laboratory, wrote:
19                 The crucial step in most nucleic acid-based assays is to
                   amplify the target DNA or cDNA in a complex clinical
20                 sample. PCR amplification always faces problems caused
                   by inhibitors carried over from the clinical sample. Real-
21                 time PCR or qPCR is no exception. No commercial viral
                   RNA extraction kits can remove all PCR inhibitors from
22                 the human respiratory tract specimens…Non-target
                   nucleic acid molecules and other PCR inhibitors are
23                 usually co-extracted and co-purified along with SARS-
24     7
        University Vaccine Mandates Violate Medical Ethics (June 4, 2021) ,
   https://www.wsj.com/articles/university-vaccine-mandates-violate-medical-ethics-11623689220
25 [as of July 21, 2021].
26     8
        CDC COVID Data Tracker, https://covid.cdc.gov/covid-data-tracker/#datatracker-home [as
   of July 21, 2021].
27    9
        Development and Evolution of PCR (April 1, 2013),
   https://www.genengnews.com/magazine/200/development-and-evolution-of-pcr/
28 2021]                                                                         [as of July 21,

                                                 20
                                           COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 21 of 40 Page ID #:21



                     CoV-2 RNA. Inhibition of PCR by host DNA is a well-
 1                   recognized problem in molecular diagnosis of bacterial
                     infections. These PCR-inhibitory molecules may come
 2                   from the host cells, and from other viruses, bacteria and
                     fungi normally residing in the human respiratory tract. The
 3                   nature and quantity of these nucleic acids and inhibitors in
                     the respiratory tract vary from one person to another, and
 4                   are totally unpredictable. Non-template nucleic acids can
                     affect PCR amplification efficiency, the fluorescent signal
 5                   growth10curve and the cycle threshold (Ct) value in qPCR
                     assays.
 6
 7             85.   Kary Mullis, the inventor of PCR technology, who won a Nobel Prize
 8 in 1993 for his invention, stated unequivocally that PCR tests are not an effective
 9 diagnostic tool:
10                   [W]ith PCR if you do it well you can find almost anything
                     in anybody. It starts making you believe in the sort of
11                   Buddhist notion that everything is contained in everything
                     else, right? Because if you can amplify one single
12                   molecule up to something that you can really measure,
                     which PCR can do, then there’s just very few molecules
13                   that you don’t have at least one single one of them in your
                     body…[I]t’s just a process that’s used to make a whole lot
14                   of something out of something. That’s what it is. It doesn’t
                     tell you that you’re sick and it doesn’t tell you that the
15                   thing you ended up with    really was going to hurt you or
                     anything like that…”11
16
17             86.    “On February 2, 2020, the CDC was the only place in the country that
18 could perform SARS-CoV-2 tests. But on February 12, the CDC announced that the
19 test was providing inconclusive results. By then, the United States had reported 11
20 COVID-19 cases. The CDC designed its own test in March 2020. The Food and
21 Drug Administration (FDA) picked a conservative testing strategy, allowing
22 laboratories to use only the CDC test kits distributed under the Emergency Use
23 Authorization (EUA) authority. When the CDC test kits failed by generating many
24
25
        10
             “Testing for SARS-CoV-2 in cellular components by routine nested RT-PCR followed by
26 DNA sequencing”, International Journal of Geriatrics and Rehabilitation 2(1):69- 96, July 17,
   2020.
27    11
         Inventor of PCR Test Said Fauci 'Doesn't Know Anything' And Is Willing To Lie On
   Television - National File (https://nationalfile.com/inventor-of-pcr-test-said-fauci-doesnt-know-
28 anything-and-is-willing-to-lie-on-television/  [as of July 21, 2021]
                                                      21
                                                COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 22 of 40 Page ID #:22




 1 false-positive results, neither a new strategy nor a new test was available for more
 2 than two weeks[.]” 12
 3           87.   The CDC itself admits in its “CDC 2019-Novel Coronavirus (2019-
 4 nCoV) Real-Time RT-PCR Diagnostic Panel Instruction Manual” that “[d]etection
 5 of viral RNA may not indicate the presence of infectious virus or that 2019-nCoV is
 6 the causative agent for clinical symptoms.”
 7           88.    In 2020, researchers found that infectivity is related to the date of onset
 8 of symptoms and cycle threshold level and that “a binary ‘Yes/No approach’ to the
 9 interpretation RT-PCR test results without validation against viral culture will result
10 in false positives with possible segregation of large numbers of people who are no
11 longer infectious and hence not a threat to public health.” The researchers concluded
12 that “Complete live viruses are necessary for transmission, not the fragments
13 identified by PCR. Prospective routine testing of reference and culture specimens
14 and their relationship to symptoms, signs and patient co-factors should be used to
15 define the reliability of PCR for assessing infectious potential. Those with high cycle
16 threshold are unlikely to have infectious potential.” 13
17           89.   In spite of all of the known flaws of the test, on “June 13, 2020 [the]
18 CDC initiate[d] PCR test-based strategy requiring all patients that need
19 hospitalization for any reason be tested at time of entry regardless of symptoms. A
20 patient testing positive is categorized as a new COVID-19 case and hospitalization.
21 Patients testing positive are required to be PCR tested every 24 hours until they have
22 2 consecutive negative PCR tests at least 24 hours apart. There are no data collection
23 guidelines within the CSTE Position Paper adopted by the CDC on April 14, 2020,
24 to prevent the same patient being counted multiple times. Additionally, there are no
25
26      12
         “Testing for SARS-CoV-2 in cellular components by routine nested RT-PCR followed by
   DNA sequencing”, International Journal of Geriatrics and Rehabilitation 2(1):69- 96, July 17,
27 2020.
      13
         Jefferson, Spencer, et. al., Viral cultures for COVID-19 infectious potential assessment –
28 systematic  review (Dec. 3, 2020).
                                                        22
                                                  COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 23 of 40 Page ID #:23




 1 data collection guidelines published separately by the CDC to explicitly prevent the
 2 same hospitalized patient from being inaccurately counted as a new case and
 3 hospitalization each time they are tested while hospitalized…Over this [next] 34-
 4 day time period using the CDC test-based strategy nationwide, current
 5 hospitalizations more than doubled while 678,720 Americans recovered, and 21,323
 6 Americans passed away.”14
 7          90.   Use of the RT-PCR test to diagnose infection with COVID-19 is
 8 currently prohibited in dozens of countries.
 9          91.   In November 2020, a Portuguese appeals court ruled that PCR Tests are
10 unreliable and that it is unlawful to quarantine people based solely on their PCR test
11 results. Citing Jaafar et al., 2020, the Court found that the reliability of the PCR test
12 depends on the cycle threshold used and the viral load present. The Court noted, “[I]f
13 someone is tested by PCR as positive when a threshold of 35 cycles or higher is used
14 (as is the rule in most laboratories in Europe and the US), the probability that said
15 person is infected is less than 3%, and the probability that said result is a false
16 positive is 97%.” The Court also noted, “Given how much scientific doubt exists —
17 as voiced by experts, i.e., those who matter — about the reliability of the PCR tests,
18 given the lack of information concerning the tests’ analytical parameters, and in the
19 absence of a physician’s diagnosis supporting the existence of infection or risk, there
20 is no way this court would ever be able to determine whether C was indeed a carrier
21 of the [virus], or whether A, B and D had been at a high risk of exposure to it.” 15
22          92.   In Austria, following Portuguese, German, Dutch, and Pilipino suit, the
23 Vienna Administrative Court held on March 24, 2021, that “a PCR test is not suitable
24 for diagnosis and therefore does not in itself say anything about the disease or
25
26     14
         “COVID-19 Data Collection, Comorbidity & Federal Law: A Historical Retrospective”,
   Science, Public Health Policy, and The Law Volume 2:4-22, October 12, 2020.
27    15
         COVID PCR test reliability doubtful – Portugal Judges, The Portugal News (Nov. 27,
   2020), https://www.theportugalnews.com/news/2020-11-27/covid-pcr-test-reliability-doubtful-
28 portugal-judges/56962  [as of July 13, 2021].)
                                                   23
                                              COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 24 of 40 Page ID #:24




 1 infection of a person.” The Court also held that the “information” put forth by the
 2 Vienna State Police Department of PCR Test results to justify lockdowns “did not
 3 contain any valid and evidenced-based findings[.]” 16
 4            93.    On June 25, 2021, the World Health Organization (“WHO”) announced
 5 that, “Widespread screening of asymptomatic individuals is not a currently
 6 recommended strategy due to the significant costs associated with it and the lack of
 7 data on its operational effectiveness.” 17
 8                                  SummerBio’s RT-PCR Test
 9            94.    At the outset of the COVID-19 pandemic, the FDA adopted a policy
10 allowing commercial entities and laboratories to develop tests to detect the presence
11 of the SARS-CoV-2 virus and utilize those tests pursuant to Emergency Use
12 Authorization as defined in 21 U.S.C. §360bbb-3. That policy is attached hereto as
13 Exhibit “C”.
14            95.    Laboratory developed tests are authorized by and regulated pursuant to
15 the Clinical Laboratory Improvement Amendments or “CLIA”.
16            96.    Pursuant to CLIA, laboratories are permitted to begin utilizing the tests
17 they develop prior to receiving even Emergency Use Authorization from the FDA.
18 However, the FDA guidance issued to CLIA-certified laboratories directs them to
19 validate the accuracy of their tests prior to use and notify the FDA once the validation
20 is complete, and to seek Emergency Use Authorization of the product within fifteen
21 (15) days thereafter.
22            97.    In addition to this process, the federal government issued a policy in
23 March 2020 allowing individual states to authorize labs to develop and perform
24 diagnostic testing without the oversight of the federal government. The FDA has
25
        16
             Austrian Court Rules PCR Test Not Suitable For COVID-19 Diagnosis And That
26 Lockdowns [Have] No Legal Basis, GreatGameIndia Journal on Geopolitics & International
   Relations (Apr. 8, 2021), https://greatgameindia.com/austria-court-pcr-test/ [as of July 13, 2021].
27    17
         Recommendations for national SARS-CoV-2 testing strategies and diagnostic capacities
   (June,  25 2021) World Health Organization,
28 https://apps.who.int/iris/rest/bitstreams/1352897/retrieve [as of July 15, 2021].)
                                                     24
                                                COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 25 of 40 Page ID #:25




 1 requested that laboratories operating pursuant to state authorization and not seeking
 2 an EUA still notify the FDA that it is performing PCR testing and of the clinical
 3 trials being performed to verify the accuracy of these tests, but it is not required.
 4           98.    The SummerBio RT-PCR test being utilized by LMU and the LACDPH
 5 is listed on the FDA’s website as “Not FDA Authorized”. 18
 6           99.    The University has a document linked to its website labeled “Fact Sheet
 7 for the SummerBio RT-PCR test”, which has a statement contained therein that the
 8 test has been authorized for emergency use by the FDA. This would seem to be an
 9 intentional misrepresentation being perpetrated by the University. The “Fact Sheet”
10 is attached hereto as Exhibit “D”.
11           100. This same document contains other noteworthy information.
12 Specifically, the Fact Sheet states, “The SummerBio High-Throughput Triplex
13 SARS-CoV-2 is authorized for use on respiratory specimens collected from
14 individuals suspected of COVID-19 by their healthcare provider.” (Emphasis
15 added). In other words, the test is not to be used for the type of community-wide
16 “surveillance testing” the University and LACDPH intend to use it for, nor is it to
17 be used on asymptomatic individuals, nor without the express recommendation of
18 healthcare provider of the prospective test subject.
19           101. The Fact Sheet also makes clear that, “Laboratory test results should
20 always be considered in the context of clinical observations and epidemiological
21 data in making a final diagnosis and patient management decisions.”19 This means
22 no person should ever be diagnosed with COVID-19 infection based upon PCR test
23 results alone.
24
25
26
       18
            Notifications and Emergency Use Authorizations: FAQs on Testing for SARS-CoV-2,
27 https://www.fda.gov/medical-devices/coronavirus-covid-19-and-medical-devices/notifications-
     and-emergency-use-authorizations-faqs-testing-sars-cov-2 [as of July 21, 2021].
28      19
           Ibid. (emphasis added).
                                                    25
                                              COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 26 of 40 Page ID #:26




 1                   None of the Currently Available Masks to Prevent the
 2                  Transmission of SARS-Cov2 Are Approved by the FDA
 3            102. On April 18, 2020, the FDA issued an EUA authorizing the use of face
 4 masks by members of the general public, including health care personnel in
 5 healthcare settings as personal protective equipment, to cover their noses and mouths
 6 to prevent the spread of SARS-CoV-2, pursuant to 21 U.S.C. 360bbb-3.20
 7            103. In the EUA for surgical and/or cloth masks, the FDA states, “labeling
 8 must not state or imply... that the [mask] is intended for antimicrobial or antiviral
 9 protection or related, or for use such as infection prevention or reduction.”21
10            104. The April 18 EUA also specifically provides that facemasks are not
11 intended to be used by health care personnel in the healthcare setting as protective
12 personal equipment because they “are neither substitutable for respiratory
13 protective devices such as filtering face piece respirators, nor for surgical face
14 masks.”22
15            105. The FDA only authorized the use of face masks if the following
16 conditions were met23:
17                  Labeled accurately to describe the product as a face mask
                    and include a list of the body contacting materials (which
18                  does not include any drugs or biologics);
19                  Labeled accurately so that it does not claim to be intended
                    for use as a surgical mask or to provide liquid barrier
20                  protection;
21                  Include recommendations against use in a clinical setting
                    where the infection risk level through inhalation exposure
22                  is high;
23                  Not labeled in such a manner that would misrepresent the
                    product’s intended use, for example, the labeling must
24                  not state or imply that the product is intended for
25
       20
            Emergency Use Authorization | FDA (April 18, 2021)
26 https://www.fda.gov/media/137121/download [as of July 21, 2021].
       21
27        Ibid. (emphasis added).
       22
          Ibid.
28     23
          Ibid.
                                                 26
                                              COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 27 of 40 Page ID #:27



                    antimicrobial or antiviral protection or related uses or is
 1                  for use such as infection prevention or reduction;
 2                  Not labeled as a respiratory protective device, and
                    therefore not be labeled or used for particulate filtration;
 3                  and
 4                  Not labeled for use in high-risk aerosol generating
                    procedures.
 5
 6            106. On April 24, 2020, “in response to questions and concerns” received by
 7 the FDA following its April 18 EUA for masks, the FDA concluded that revising the
 8 April 18, 2020 EUA was appropriate “to protect the public health or safety under
 9 section 564(g)(2)(c) of the Act (21 U.S.C. § 360bbb 3(g)(2)(c))” and reissued the
10 April 18 EUA in its entirety with amendments, including “clarifying” that “eligible
11 facemasks are to be used for source control only, and are not personal protective
12 equipment, meaning they are not a substitute for filtering face piece respirators or
13 for surgical face masks.”24
14            107. The FDA defined “source control” as the use of a facemask or cloth
15 face covering “to contain that individual’s respiratory secretions to help prevent
16 transmission from infected individuals who may or may not have symptoms of
17 COVID-19,” and “respiratory secretions” as those produced when speaking,
18 coughing, or sneezing. 25 In other words, per the FDA, face masks and coverings are
19 only authorized to prevent the transmission of the virus via respiratory secretions,
20 not airborne particles.
21                           Masks Cause More Harm Than They Prevent
22            108. Since April 2020, it has been proven that standard cloth and surgical
23 masks offer little-to-zero protection against virus-sized particles or small aerosols.
24
25     24
            Emergency Use Authorization | FDA (April 24, 2021)
26 https://www.fda.gov/media/137121/download (fn. 6, emphasis added);
     https://www.fda.gov/medical- devices/emergency-situations-medical-devices/faqs-emergency-
27 use-authorization-face-masks-non-surgical
28    25
         Ibid.
                                                  27
                                               COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 28 of 40 Page ID #:28




 1 A single virion of SARS-CoV-2 is about 60-140 nanometers or 0.1 microns. The
 2 pore size in a surgical mask 200-1000x greater than that. The CDC states that
 3 “surgical masks do not catch all harmful particles in smoke,” and the size of smoke
 4 particles in a wildfire are ~0.5 microns, or 5x the size of the SARS-CoV-2 virus.26
 5 In fact, after reviewing all of the studies worldwide, the CDC found “no reduction
 6 in viral transmission with the use of face masks.”27
 7            109. In studies pre-dating COVID-19, in some instances by decades,
 8 researchers found that wearing masks causes a host of physiological and
 9 psychological burdens on the wearer, including but not limited to hypoxemia 28,
10 hypercapnia29, atherosclerosis 30, systemic inflammation promoting growth of cancer
11 cells31, anxiety and attachment disorders 32.
12     26
            Filtration Efficiency of Hospital Face Mask Alternatives Available for Use during the
13 COVID-19 Pandemic (August 11, 2020),
     https://jamanetwork.com/journals/jamainternalmedicine/fullarticle/2769443 [since July 23,
14 2021]; N95 Respirators and Surgical Masks October 14, 2009, https://blogs.cdc.gov/niosh-
     science-blog/2009/10/14/n95/ [as of July 23, 2021]; Effectiveness of Adding a Mask
15 Recommendation to Other Public Health Measures to Prevent SARS-CoV-2 Infection in Danish
     Wearers (November 19, 2020), https://www.acpjournals.org/doi/10.7326/M20-6817 [as of July
16 23, 2021].
       27
        Nonpharmaceutical Measures for Pandemic Influenza in Nonhealthcare Settings –
17 Personal Protective and Environmental Measures (Jingyi Xiao1, Eunice Y. C. Shiu1, Huizhi
   Gao, Jessica Y. Wong, Min W. Fong, Sukhyun Ryu, and Benjamin J. Cowling (Volume 26,
18 Number 5, May of 2020) (emphasis added).
19     28
           The Physiological Impact of N95 Masks of Medical Staff, National Taiwan University (June
     2005), https://clinicaltrials.gov/ct2/show/NCT00173017 [as of July 23, 2021]; Preliminary
20   report on surgical mask induce deoxygenation during major surgery (April 19, 2008),
     https://scielo.isciii.es/pdf/neuro/v19n2/3.pdf [as of July 23, 2021].
21      29
           Ibid.
22      30
           Chronic intermittent hypoxia induces atherosclerosis (June 15, 2007),
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2176090/ [as of July 23, 2021].
23      31
           Nuclear Factor-kB: The Enemy Within (September 2004),
     https://www.sciencedirect.com/science/article/pii/S1535610804002442 [as of July 23, 2021].
24
       32
25      Recognition of facial emotions of varying intensities by three-year-olds. Developmental
   Psychology, Bayet, L., Behrendt, H., Cataldo, J., Westerlund, A., & Nelson, C. (2018). 54(12),
26 2240-2247; Annotation: Development of facial expression recognition from childhood to
   adolescence: Behavioural and neurological perspectives. Journal of Child Psychology and
27 Psychiatry, Herba, C., & Phillips, M. (2004). 45(7), 1185-1198.
28
                                                    28
                                                 COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 29 of 40 Page ID #:29




 1            110. As recently as May 2021, student athletes have collapsed during
 2 practice and competitions and have even flatlined and needed to be resuscitated33,
 3 mirroring similar events in China in April and May 2020, over a year ago.34
 4                   Asymptomatic Transmission Is Not the Driver of Outbreaks
 5            111. Upon information and belief, given that Defendants’ policies are silent
 6 as to the reasons behind the testing, masking, and segregating requirements, these
 7 are presumably, to protect against “asymptomatic transmission” of COVID-19.
 8            112. According to Dr. Fauci, the Director of the National Institute of Allergy
 9 and Infectious Diseases and leading U.S. governmental authority on the COVID-19
10 pandemic: 35
11                   [T]he only thing historically that people need to realize is
                     that, even if there is some asymptomatic transmission, in
12                   all the history of respiratory borne viruses of any time,
                     asymptomatic transmission has never been the driver of
13                   outbreaks. The driver of outbreaks is always the
                     symptomatic person. Even if there is a rare asymptomatic
14                   person that might transmit it, an epidemic is not driven by
                     asymptomatic carriers.
15
16                                  FIRST CAUSE OF ACTION
17      Denial Of Civil Rights Under 42 U.S.C. § 1983 (Fourteenth Amendment)
18                             (By Plaintiffs against all Defendants)
19            113. Plaintiffs repeat and reallege the allegations contained in paragraphs 1
20 through 112 as though fully set forth herein.
21
22     33
        Prineville teen collapses at HS basketball practice; player, mother say mask to blame (May
   12, 2021), https://ktvz.com/news/coronavirus/2021/05/12/prineville-girl-collapses-at-hs-
23 basketball-practice-she-her-mother- and-doctor-blame-mask/ [as of July 23, 2021]; Oregon HS
   coach demands    end to mask mandate  after athlete collapses: “We’re talking about oxygen
24 needs” (April 29, 2021), https://www.foxnews.com/us/oregon-hs-coach-demands-end-to-mask-
25 mandate-after-athlete-collapses-were-talking-about-oxygen-needs [as of July 23, 2021].
       34
            Two Chinese boys reportedly die within a week of each other while wearing face masks in
26 gym class (May 7, 2020), https://www.nydailynews.com/coronavirus/ny-coronavirus-two-
     chinese-boys-die-face-masks-gym-class-20200507-ruyinz7czjbqde3tprx647q3dm-story.html [as
27 of July 23, 2021].
       35
28 2020)Update   on the New Coronavirus Outbreak First Identified in Wuhan, China (January 28,
         https://youtu.be/w6koHkBCoNQ [as of July 23, 2021].
                                                   29
                                                COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 30 of 40 Page ID #:30




 1         114. This cause of action is brought pursuant to 42 U.S.C. § 1983 and the
 2 Fourteenth Amendment to the United State Constitution.
 3         115. The Equal Protection Clause of the Fourteenth Amendment guarantees
 4 all Americans the equal protection of law: “One of the fundamental goals of the
 5 Equal Protection Clause [is] the abolition of governmental barriers presenting
 6 unreasonable obstacles to advancement on the basis of individual merit.” Plyler v.
 7 Doe (1982) 457 U.S. 202, 221-222.
 8         116. The Equal Protection Clause protects individual persons as much as it
 9 does groups or classifications of persons. See, e.g., Parents Involved in Cmty. Sch.
10 v. Seattle Sch. Dist. No. 1 (2007) 551 U.S. 701, 743.
11         117. The Equal Protection Clause applies to government actors, or to private
12 actors acting under color of state law. “Private parties act under color of state law if
13 they willfully participate in joint action with state officials to deprive others of
14 constitutional rights.” United Steelworkers of Am. v. Phelps Dodge Corp. (9th Cir.
15 1989) 865 F.2d 1539, 1540. Here, the University is acting as an agent of the
16 LACDPH in implementing the policies complained of herein including, but not
17 limited to, “surveillance testing” of unvaccinated students.
18         118. Plaintiffs are being deprived by Defendants and their policies of equal
19 protection under the law as guaranteed to them by the Fourteenth Amendment to the
20 United States Constitution. Specifically, Ryan, Riley, and other students unable to
21 comply with the University’s vaccine requirement on religious or medical grounds
22 (as permitted by well-established law and the University’s stated policy), are being
23 forced to live in segregated housing, hide their smiles and other facial expressions
24 from their peers, and be subjected to “surveillance testing”. This testing may lead to
25 additional segregationist measures such as removal from campus and forced
26 quarantine. Vaccinated students, on the other hand, will not be subject to these or
27 any special requirements even though the vaccines are not 100% effective and are
28
                                             30
                                          COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 31 of 40 Page ID #:31




 1 possibly entirely ineffective against new strains of the virus said to be more prevalent
 2 currently than the original strain.36
 3          119. The University does not condition exemption from the measles,
 4 mumps, or rubella vaccines to any similar conditions or requirements or
 5 requirements. Therefore, Defendants are treating medically compromised and
 6 religious students who are exempted from the COVID-19 vaccine differently and
 7 worse than students exempted from any other University-mandated vaccine, based
 8 exclusively upon the nature of the vaccine.
 9          120. Plaintiffs are further being deprived by Defendants and their policies of
10 equal protection under the law as guaranteed to them by the Fourteenth Amendment
11 to the United States Constitution because they are being subjected to the
12 aforementioned offensive, burdensome, and discriminatory conditions based
13 exclusively upon their vaccination status – all in the name of protecting the LMU
14 community – while unvaccinated faculty and staff are not.
15          121. Plaintiffs are being discriminated against on the basis of their medical
16 condition and on the basis of their religion and religious beliefs. This deprivation of
17 equal access to education, housing, and other benefits of the University is
18 discriminatory, and Defendants lack a compelling or rational basis for the
19 implementation of such policies. Accordingly, Defendants have violated and
20 continue to violate Ryan’s and Riley’s right to equal protection under the law, and
21 Defendants’ policies cannot stand.
22
23
24
25
26
27     36
        Data released from Israel in July 2021 showing that seventy-five to ninety-four percent (75-
28 HealthofDashboard,
   94%)     new COVID-19 cases in Israel are in those who have been vaccinated (Israel Minister of
                      https://dashboard.health.gov.il/COVID-19/general [as of July 21, 2021].
                                                    31
                                              COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 32 of 40 Page ID #:32




 1                           SECOND CAUSE OF ACTION
 2     Deprivation Of Civil Rights Under Article 1, Section 4 Of The California
 3    Constitution And The First Amendment Right To Free Exercise Under 42
 4                                     U.S.C §1983
 5                        (All Plaintiffs Against All Defendants)
 6        122. Plaintiffs repeat and reallege the allegations contained in paragraphs 1
 7 through 112 and 113 to 121 as though fully set forth herein.
 8        123. The First Amendment provides the right of Plaintiffs to the free exercise
 9 of religion and Article I, Section 4 of the Constitution of the State of California
10 states, “Free exercise and enjoyment of religion without discrimination or preference
11 are guaranteed.”
12        124. “[T]he religion clauses of the California Constitution are read more
13 broadly than their counterparts in the federal Constitution.” Carpenter v. City and
14 County of San Francisco, 93 F.3d 627, 629 (1996). Courts “therefore review [a]
15 challenge…under the free exercise clause of the California Constitution in the same
16 way [they] might have revied a similar challenge under the federal constitution after
17 Sherbert, and before Smith. In other words, we apply strict scrutiny.” Catholic
18 Charities of Sacramento, Inc. v. Superior Court, 32 Cal. 4th 527, 562 (2004)
19 (citations omitted).
20        125. LMU’s COVID-19 policies are not neutral and generally applicable
21 because they exempt employees from the same requirements.
22        126. LMU’s COVID-19 policies constitute a substantial burden on Ryan’s
23 free exercise of religion under both the First Amendment and the California
24 Constitution because LMU is denying Ryan, and other similarly-situated students,
25 access to classes, housing, and participation in various aspects of campus life, and
26 otherwise imposing various burdensome and equally-offensive requirements as a
27 condition to granting them access, based solely upon his religious beliefs, which
28 prevent them from participating in the policies. LMU’s discriminatory, burdening
                                            32
                                         COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 33 of 40 Page ID #:33




 1 policies cannot satisfy strict scrutiny because LMU is allowing other students to live,
 2 matriculate, and otherwise fully participate in campus life, without restriction or
 3 condition, even though these students also present a threat of COVID-19.
 4        127. LMU’s religious exemption review process constitutes a substantial
 5 burden on Ryan’s free exercise of his Christian faith under the First Amendment and
 6 the California Constitution because LMU is denying Ryan, and other similarly
 7 situated Christian students the same due process rights and protections in evaluating
 8 and deciding whether or not to grant or deny a religious exemption request based
 9 solely upon their Christian affiliation. LMU’s discriminatory, burdening religious
10 exemption review process cannot satisfy strict scrutiny because LMU is reviewing
11 the religious exemption requests of religious students of non-Christian faith under
12 less stringent standards.
13        128. As a result of these violations of Ryan’s constitutional rights to exercise
14 his religion, Ryan has suffered damages in an amount to be proven at trial. Ryan is
15 also entitled to recover costs and attorneys’ fees under 42 U.S.C § 1983 and under
16 California Code of Civil Procedure § 1021.5 plus injunctive relief and a judicial
17 declaration that LMU’s actions were unconstitutional.
18                             THIRD CAUSE OF ACTION
19       Denial Of Civil Rights Under 42 U.S.C. § 1983 (Fourth Amendment)
20                       (By All Plaintiffs against all Defendants)
21        129. Plaintiffs repeat and reallege the allegations contained in paragraphs 1
22 through 112 as though fully set forth herein.
23        130. This cause of action is brought pursuant to 42 U.S.C. § 1983 and the
24 Fourth Amendment to the United State Constitution.
25        131. The Fourth Amendment of the United States Constitution states that all
26 citizens have the right “to be secure in their persons, houses, papers, and effects,
27 against unreasonable searches and seizures[.]”
28
                                             33
                                          COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 34 of 40 Page ID #:34




 1         132. The Fourth Amendment applies to government action that intrudes
 2 upon an individual’s reasonable expectation of privacy. Katz v. U.S. (1967) 389 U.S.
 3 347, 361.
 4         133. Collection of deoxyribonucleic acid (“DNA”) or other biologic material
 5 from a person constitutes a search and seizure and intrusion into the privacy interests
 6 of that person protected by the Fourth Amendment to the United States Constitution.
 7 Skinner v. Ry. Labor Executives' Ass'n (1989) 489 U.S. 602, 616; Winston v. Lee
 8 (1985) 470 U.S. 753, 760 (1985); Schmerber v. California (1966) 384 U.S. 757,
 9 767-68; U.S. v. Kincade (9th Cir. 2004) 379 F.3d813, 821.
10         134. “[T]he Fourth Amendment’s proper function is to constrain, not against
11 all intrusions as such, but against intrusions which are not justified in the
12 circumstances, or which are made in an improper manner.” Maryland v. King
13 (2013) 569 U.S. 435, 438; Schmerber, supra, at 768 (internal citations omitted). “As
14 the text of the Fourth Amendment indicates, the ultimate measure of the
15 constitutionality of a governmental search is ‘reasonableness.’” Ibid.; quoting
16 Vernonia Sch. Distr. 47J v. Acton (1995) 515 U. S. 646, 65w. In determining
17 whether the intrusion is “reasonable,” the Court has preferred “some quantum of
18 individualized suspicion . . . [as] a prerequisite to a constitutional search or seizure.”
19 Ibid.
20         135. Plaintiffs have a reasonable expectation of privacy in their body
21 cavities, as well as in their personal medical, health and genetic information. See
22 Rakas et al. v. Illinois (1978) 439 U.S. 128.
23         136. Defendants’ indiscriminate, mandatory surveillance testing program of
24 all unvaccinated or “exempted” students, regardless of symptomology or exposure,
25 is unsupported by either individualized suspicion or sufficient special needs to
26 justify such any intrusion into their reasonable expectations of physical and personal
27 privacy. As such, Defendants’ mandatory surveillance testing program violates
28
                                              34
                                           COMPLAINT
        Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 35 of 40 Page ID #:35




 1 Plaintiffs’ Fourth Amendment rights. See, e.g., B.C. v. Plumas Unified Sch. Dist.
 2 (9th Cir. Sep. 20, 1999, No. 97-17287) 1999 U.S. App. LEXIS 38863, at *22-24.
 3                             FOURTH CAUSE OF ACTION
 4                         Violation Of 21 U.S. Code § 360bbb–3
 5                          (By Plaintiffs against all Defendants)
 6          137. Plaintiffs repeat and reallege the allegations contained in paragraphs 1
 7 through 112 as though fully set forth herein.
 8          138.   “Under section 564 of the Federal Food, Drug, and Cosmetic Act
 9 (FD&C Act), when the Secretary of HHS declares that an emergency use
10 authorization is appropriate, FDA may authorize unapproved medical products or
11 unapproved uses of approved medical products to be used in an emergency to
12 diagnose, treat, or prevent serious or life-threatening diseases or conditions caused
13 by [chemical, biological, radiological, and nuclear] threat agents when certain
14 criteria are met, including there are no adequate, approved, and available
15 alternatives.”37
16          139. The relevant portion of the FD&C Act, found at 21 U.S. Code §
17 360bbb–3(e)(1)(A)(ii), imposes the following conditions on the dissemination of
18 products that have received emergency use authorization:
19                 Appropriate conditions designed to ensure that individuals to whom the
                   product is administered are informed:
20
                         (I)   that the Secretary has authorized the emergency use of the
21                       product;
22                       (II) of the significant known and potential benefits and risks of
                         such use, and of the extent to which such benefits and risks are
23                       unknown; and
24                       (III) of the option to accept or refuse administration of the
                         product, of the consequences, if any, of refusing administration
25                       of the product, and of the alternatives to the product that are
                         available and of their benefits and risks.”
26
27     37
        Emergency Use Authorization | FDA, https://www.fda.gov/emergency-preparedness-and-
   response/mcm-legal-regulatory-and-policy-framework/emergency-use-authorization
28 21, 2021].                                                                     [as of July

                                                 35
                                           COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 36 of 40 Page ID #:36




 1        140. Defendants and their policies are in violation of 21 U.S. Code §
 2 360bbb–3(e)(1)(A)(ii) (III) by failing to provide the required option to refuse PCR
 3 testing and the use of masks to prevent the transmission of SARS-CoV-2.
 4                            FIFTH CAUSE OF ACTION
 5      Deprivation Of Equal Protection Under Article 1, Section 7(A) Of The
 6                               California Constitution
 7                        (By Plaintiffs against all Defendants)
 8        141. Plaintiffs repeat and reallege the allegations contained in paragraphs 1
 9 through 112 and 113 through 121 as though fully set forth herein.
10        142. Article I, Section 7(a) of the California Constitution provides, “A
11 person may not be deprived of life, liberty, or property without due process of law
12 or denied equal protection of the laws.”
13        143. Defendants have violated Plaintiffs’ right to Equal Protection afforded
14 to them under Article 1, Section 7(a) of the California Constitution, as described
15 hereinabove in relation to Plaintiffs’ claim for violation of the Fourteenth
16 Amendment, including but not limited to being forced to live in segregated housing,
17 masking, being subjected to “surveillance testing”, and being subject to force
18 quarantine procedures, while their unvaccinated peers and University faculty and
19 staff are not.
20                            SIXTH CAUSE OF ACTION
21       Deprivation Of Privacy Under Article 1, Section 1 Of The California
22                                     Constitution
23                        (By Plaintiffs against all Defendants)
24        144. Plaintiffs repeat and reallege the allegations in Paragraphs 1 through
25 112 as though fully set forth herein.
26        145. Article I, Section I of the California Constitution recognizes that “[a]ll
27 people are by nature free and independent and have inalienable rights” including
28 “pursuing and obtaining…privacy.”
                                              36
                                           COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 37 of 40 Page ID #:37




 1            146.    ‘Privacy’ was added by ballot initiative in the 1972 general election.
 2 The argument put forth by the legislature in support of this amendment to the state
 3 Constitution included:
 4                   The proliferation of government snooping [a]nd data
                     collecting is threatening to destroy our traditional
 5                   freedom. Government agencies seem to be competing to
                     compile the most extensive sets of dossiers of American
 6                   citizens. Computerization of records makes it possible to
                     create “cradle-to-grave” profiles on every American. At
 7                   present there are no effective estraings on the information
                     activities of government and business. This amendment
 8                   creates a legal and enforceable right of privacy for every
                     Californian.38
 9
10            147. The Restatement (Second) of Torts, Section 652B provides, “One who
11 intentionally intrudes, physically or otherwise, upon the solitude or seclusion of
12 another or his private affairs or concerns, is subject to liability to the other for
13 invasion of his privacy, if the intrusion would be highly offensive to a reasonable
14 person.”
15            148. Plaintiffs herein are reasonable persons who find the intrusions caused
16 by PCR testing, face coverings, the mandated collection and dissemination of
17 personal health data and other biological and genetic information all to be highly
18 offensive and unacceptable intrusions into their respective zones of privacy and,
19 therefore, these requirements violate their right to privacy protected by the California
20 Constitution.
21                                SEVENTH CAUSE OF ACTION
22                                        Breach Of Contract
23          (By Plaintiffs against Defendant Loyola Marymount University, Only)
24            149. Plaintiffs repeat and reallege the allegations in Paragraphs 1 through
25 112 as though fully set forth herein.
26            150. Plaintiffs, and each of them, entered into written contractual
27 relationships with the University upon their acceptance and enrollment into the
28     38
            http://law.scu.edu/wp-content/uploads/art_i_section1_cal_cnstn.pdf [as of July 21, 2021].
                                                       37
                                                COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 38 of 40 Page ID #:38




 1 University, and, again, upon executing their 2021-2022 housing agreements; paying
 2 their housing deposits; and registering for on-campus housing (hereinafter
 3 collectively “the Agreements”). Pursuant to the express, unambiguous terms of the
 4 Agreements, Plaintiffs are entitled to full, unfettered access to all University
 5 facilities and programs, and to the agreed-upon University housing.
 6        151. Plaintiffs performed all, or substantially all, of the things that the
 7 Agreements required them to do, or were otherwise excused from doing these things.
 8 All conditions required by the Agreements for University’s performance had
 9 occurred.
10        152. After Plaintiffs and LMU entered into the Agreements, and after
11 Plaintiffs performed, LMU attempted to add terms to the Agreements to which
12 Plaintiffs did and do not agree.
13        153. The University has breached the Agreements by failing honor the terms
14 of the Agreements as written, and by attempting to add terms to the Agreements
15 without Plaintiffs’ consent.
16        154. The University has not performed or been excused from performing
17 under the terms of the Agreements.
18        155. As a proximate result of the University’s breaches, and each of them,
19 Plaintiffs have been damaged by being deprived of their housing placements and not
20 being allowed to attend University without being subjected to the extra-contractual
21 terms coercively and unlawfully placed upon them. Plaintiffs have also been
22 financially damaged in an amount to be proven at trial with interest thereon at the
23 maximum rate permitted by law.
24        156. Upon information and belief, Plaintiffs are entitled to recover attorneys’
25 fees and costs incurred against LMU pursuant to the terms of these Agreements.
26                           REQUEST FOR JURY TRIAL
27        Plaintiffs request a jury trial on matters that may be so tried.
28
                                             38
                                          COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 39 of 40 Page ID #:39




 1                               PRAYER FOR RELIEF
 2        WHEREFORE, Plaintiffs pray for relief as follows:
 3        A.     That this Court issue a Temporary Restraining Order, Preliminary
 4 Injunction, and a Permanent Injunction enjoining Defendants, Defendants’ officers,
 5 agents, employees, attorneys, and all other persons acting in concert or participation
 6 with them, from enforcing their vaccination policy as described herein; and,
 7        B.     That this Court issue a Temporary Restraining Order, Preliminary
 8 Injunction, and a Permanent Injunction enjoining Defendants, Defendants’ officers,
 9 agents, employees, attorneys, and all other persons acting in concert or participation
10 with them, from mandating those students exempted from the University’s vaccine
11 mandate to submit to PCR or other laboratory testing, collection of their personal
12 bodily fluids for any COVID-19 related purpose, or masking; and,
13        C.     That this Court issue a Temporary Restraining Order, Preliminary
14 Injunction, and a Permanent Injunction enjoining Defendants, Defendants’ officers,
15 agents, employees, attorneys, and all other persons acting in concert or participation
16 with them, from collecting and disseminating via VaxLMU System or any other
17 similar database or portal any and all health information of students, including, but
18 not limited to, vaccination status and results of PCR testing; and,
19        D.     That Plaintiffs be awarded monetary damages for breach of contract
20 against Loyola Marymount University, in an amount to be proven at trial; and,
21         E.    That this Court declare Plaintiffs are a prevailing party and award
22 Plaintiffs the reasonable costs and expenses of this action, including reasonable
23 attorney’s fees in accordance with 42 U.S.C. §1988, or other applicable statute or
24 law; and
25
26
27
28
                                            39
                                         COMPLAINT
       Case 2:21-cv-06000 Document 1 Filed 07/24/21 Page 40 of 40 Page ID #:40




 1         F.    That this Court grant such other and further relief as this Court deems
 2 equitable and just under the circumstances.
 3
 4                                         Respectfully submitted,

 5                                         TYLER & BURSCH, LLP
 6
     Dated: July 24, 2021                  /s/ Robert H. Tyler, Esq.
 7                                         Robert H. Tyler
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                            40
                                         COMPLAINT
